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                                                                                    Camille V. Otero
                                                                                    Director

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                                                  September 10, 2020
VIA ECF

 Hon. James B. Clark, U.S.M.J.
 United States District Court
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07101

           Re:        DVL, Inc. and DVL Kearny Holdings, LLC v. Congoleum Corporation and
                      Bath Iron Works Corporation; U.S. District Court, District of New Jersey,
                      Civil Action No. 2:17-cv-04261
Dear Judge Clark:

       This firm represents defendant Congoleum Corporation (“Congoleum”) in the above-
referenced matter. A settlement conference is presently scheduled for Wednesday September 16,
2020 at 2:00 p.m., and the Court has directed the parties to submit position papers in camera on
Monday, September 14, 2020. As set forth in Plaintiffs’ letter to Your Honor dated August 26th
(ECF 187), Congoleum previously advised all parties that its insurer, Liberty Mutual, may not be
prepared to substantively participate in settlement discussions on September 16th. As the
conference is now less than a week away, we have conferred with Liberty Mutual and it now
confirms that it is not in a position to engage in substantive settlement discussions on September
16th, and that it requires additional time for evaluation of the claims and defenses. Congoleum
and Liberty Mutual are available on September 28th and/or 29th, and we request that the settlement
conference be adjourned to one of those date, and that position papers be submitted in camera on
September 23rd. As I believe all parties would agree, there is little point in holding the conference
on September 16, 2020, if Liberty Mutual is unable to substantively participate in settlement
discussions.

       If Your Honor has any questions, we would be happy to organize a conference call to
discuss the scheduling of this conference. Thank you for your continuing attention to this matter.

                                                              Respectfully submitted,

                                                              s/ Camille V. Otero
                                                              Camille V. Otero
                                                              Director
cc:        Counsel of Record (via ECF)




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